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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                              Chapter 1l
   In re:
                                                              Case   No. 09-10899 (CSS)
   THE FAIRCHILD CORPORATION, s! al.,r
                                                              Jointly Administered
                              Debtors.
                                                              Re: Docket   n", Qt/ I

                                            ORDER PROVIDING
                       LIMITED RELIEF FROM TT{E AUTOMATIC STAY
                              ro rErE srATE oLNpw YORK
          Upon consideration of the Stipulation (the "stipulation"), a copy of which is attached

hereto as EXHIBIT 1, by and between counsel for the Fairchild Liquidating Trust (the

"Ljggidglilg_Tnls!"),t as successor in interest to The Fairchild Corporation ("f'airchild"),

Intersport Fashions West, Inc. ("!EW"), ar successor            in interest to Banner     Aerospace, Inc.

("Eeget 39Ig$Ag9"), Republic Thunderbolt, LLC ("Reppblic Thunderbolt" and together with

Fairchild and IFW, the "subjgqt_,_DebtorQ") and the counsel                    for the New York      State

Commissioner of Transportation, agent for the People of the State of New York (individually,

the "Department" and together with the Liquidating Trust, the "Part|ieF."), it is hereby,

          ORDERED that the Stipulation is APPROVED; and it is turther



          I The last four digits of Fairchild's federal tax identification   number are 8587. The mailing
address for Fairchild is 1750 Tysons Boulevard, Suite 530, Mclean, Virginia 22102. Due to the large
number of Debtors in these jointly administered cases, a complete list of the Debtors, the last four digits
of tlreir federal tax identification numbers and their addresses is not provided herein. A complete list of
such information may be obtained on the website of the Debtors' Solicitation and Claims Agent at
http://chapter I l .epiqsysterTs.com/fairchi ld.
         2 Ttre Fairchild
                         Liquidating Trust is the liquidating trust established under Section 8.1 of the
Second AmendedJoint Plan of Liquidation of The Fairchild Corporation and lts DebtorAffiliates Under
Chapter I I of the Bankruptcy Code, as Amended (the "Elan"), as such Plan was confirmed on December
17,2009 [Docket No. 887] and became effective on January 7, 2010 [Docket No. 907]. Capitalized terms
used but not defined herein shall have the meanings ascribed to them in the Plan or the Stipulation, as
applicable.




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          ORDERED that the Stay is modified solely to the extent expressly set forth in the

Stipulation; and it is further

          ORDERED that the Parties are hereby authorized to take any and all actions reasonably

necessary to effectuate the terms of this Order and the Stipulation; and   it is further

          ORDERED that this Order shall not be modified, altered, amended or vacated without the

prior written consent of all Parties hereto and the approval of the Bankruptcy Court; and it is

further

          ORDERED that the fourteen-day stay period under Bankruptcy Rule 4001(aX3) is hereby

waived, and this Order shall be effective immediately upon its entry; and it is further

          ORDERED that this Order shall have the same force and effect as an order of the

Bankruptcy Court executed in a motion on notice; and it is further

          ORDERED that this Bankruptcy Court shall retain exclusive jurisdiction to hear and

determine all matters arising from the implementation, interpretation, application or enforcement

of this Order and the Stipulation and shall retain non-exclusive jurisdiction to hear and determine

all matters arising from the implementation, interpretation, application or enforcement of      the


Taking Agreements.

Dated: February 1'z,ZO1O
       Wilmington, Delaware

                                       THE HONORABLE CHRISTOPHER S. SONTCHI
                                       UNITED STATES BANKRUPTCY ruDGE




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